          Case
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

Michael Tecku; David Finkelstein; Lawrence     )
Tjok; and Adrienne Cerulo, individually and on )
behalf of others similarly situated,           )      Civil Action No. 1:20-cv-07327
                                               )
               Plaintiffs,                     )
        v.                                     )
                                               )
YieldStreet Inc.; YieldStreet Management, LLC; )
YS Altnotes I, LLC; YS Altnotes II, LLC; and )
Michael Weisz,                                 )
                                               )                                 10/20/2020
               Defendants.                     )


                                            ORDER

       This Court, having considered the parties’ “Stipulation,” hereby ORDERS that

Defendants’ response to the Complaint is due on November 20, 2020. If the Defendants submit a

letter brief in accordance with Section II.B.1 of the Court’s Individual Practices, the Plaintiffs’

response to that letter shall be due on December 11, 2020.



                   20th day of October, 2020.
       Signed this _____



                      ___________________________________________
                       Hon. Victor Marrero, Judge, U.S.D.C. S.D.N.Y.
